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                     IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF UTAH

 CRIMINAL PRODUCTIONS, INC.,                           Civil Action No. 2:17-cv-00550-DN

                Plaintiff,                                     Judge David Nuffer

        vs.                                                    JUDGMENT,
                                                        PERMANENT INJUNCTION
 DOES 1-32,                                                       AND
                                                       AWARD OF ATTORNEY FEES
                Defendants.                            AS TO CERTAIN DEFENDANTS



       This matter comes before the Court upon motion by CRIMINAL PRODUCTIONS, INC.

(“Plaintiff”) for a default judgment against the following Defendants:

                                                                DATE OF ENTRY OF
          DOE                IP              NAME
                                                                    DEFAULT
            4       73.98.177.163         Troy Regier             November 7, 2018
            6      75.162.176.115        Mike Hudson              November 7, 2018
           17       67.177.16.219        Derrick Martin           November 7, 2018
           19       75.162.114.81        Sara Palacios            November 7, 2018
           21        67.177.45.20       Cynthia Delgado           November 7, 2018
           26       65.130.222.50       Karen Santarosa           November 8, 2018
           27       71.35.226.137       Karen Santarosa           November 8, 2018
           28         73.98.208.3         Marta Torres            November 7, 2018
           30       67.177.56.142         Terry Shelby            November 7, 2018
           31       67.182.204.87       Maria Arredondo           November 7, 2018


        for failure to answer or otherwise defend against the Plaintiff’s Complaint and/or
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participate in this action. This Court, having considered the motion, Plaintiff’s points and

authorities, and the supporting evidence of record with accompanying exhibits, together with the

pleadings, records, and papers filed herein, concludes that the motion should be granted and enters

the following:

                                               JUDGMENT

       The Clerk of the Court, noting the failure of the Defendants listed above to Answer or

otherwise respond to the summons and Complaint, as on file herein, has issued and entered into

the record Default against these Defendants.

       It is further found that each Defendant willfully infringed Plaintiff’s rights in violation of

17 U.S.C. §§ 101 et seq. The conduct of Defendants was willful, intentional, and in disregard of

and indifferent to Plaintiff’s rights, and such conduct caused harm to Plaintiff and deprived

Plaintiff of income.

       Upon this record, the Court adjudges and decrees as follows:

       1. The Court hereby AWARDS statutory damages in the amount of $10,000 pursuant to

17 U.S.C. § 504 to the Plaintiff against each of the following Defendants:

                                                                 DATE OF ENTRY OF
          DOE            IP                    NAME
                                                                     DEFAULT
            4       73.98.177.163          Troy Regier             November 7, 2018
            6      75.162.176.115         Mike Hudson              November 7, 2018
           17       67.177.16.219         Derrick Martin           November 7, 2018
           19       75.162.114.81         Sara Palacios            November 7, 2018
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           31       67.182.204.87        Maria Arredondo           November 7, 2018


       2. The Court hereby PERMANENTLY ENJOINS each Defendant identified herein from


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directly or indirectly infringing Plaintiff’s rights as to the motion picture Criminal, including

without limitation using the Internet to reproduce, to distribute, to copy, or to publish Criminal,

except pursuant to a lawful license from Plaintiff.

       3. The Court hereby ORDERS each Defendant identified herein to delete any unlicensed

copy of the motion picture Criminal in Defendant’s possession or control.

       4. The Court hereby ORDERS each Defendant identified herein to refrain from knowingly

and willfully using the BitTorrent network or the Internet for copying or downloading the movie

Criminal in further violation of U.S. copyright law.

       5. The Court hereby awards Plaintiff attorney’s fees as to each Defendant.

       6. The Court hereby awards costs to Plaintiff as to each Defendant.



       IT IS SO ORDERED AND ADJUDGED.

       Signed on this _____ day of _______________________, 2018.

                                      By: ___________________________________

                                              UNITED STATES DISTRICT JUDGE




                                                 3
